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                            No. 23-910

      In the United States Court of Appeals
              for the Second Circuit
                     In re Google LLC,
                                              Petitioner.


         On Petition for Writ of Mandamus
to the United States Judicial Panel on Multidistrict
                     Litigation


        Response to petition for mandamus

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             Corporate Disclosure Statement
                                   No. 23-910

                             I N RE G OOGLE LLC,
                                        Petitioner,
    As sovereign entities, respondents have no shareholders to be disclosed under

Federal Rule of Appellate Procedure 26.1(a).

                                      /s/ Lanora C. Pettit
                                      Lanora C. Pettit
                                      Counsel of Record for Respondents




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           Statement Regarding Oral Argument
    This case calls for the straightforward application of Ex parte Collett, 337 U.S. 55

(1949), and United States v. National City Lines, Inc., 337 U.S. 78 (1949), where the

Supreme Court squarely held that because “[n]o one has a vested right in any given

mode of procedure,” changes to venue rules apply to cases pending at the time those

rules become effective. Collett, 337 U.S. at 71. Because the Judicial Panel on Multi-

District Litigation (“JPML”) correctly concluded that Google forfeited any attempt

to distinguish Collett and National City Lines by “ma[king] no attempt to address”
them,1 oral argument is unnecessary for the disposition of Google’s petition for a writ

of mandamus. Should the Court conclude that oral argument would aid in its deci-

sional process, the respondent States request the opportunity to participate.




    1
     In re Google Digit. Advert. Antitrust Litig., MDL No. 3010 (J.P.M.L. June 5,
2023), ECF No. 250 (“Remand Order”) at 3.

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                                Introduction
    This case was always going back to the Eastern District of Texas, and Google

has always known it. The only question is when. When read (as it must be) in con-

junction with ordinary rules of statutory construction, Congress’s amendment to

28 U.S.C. § 1407(g) resolves that question: so that States would not “be hamstrung

in their efforts to halt antitrust violations or protect their citizens from anticompeti-

tive conduct,”2 Congress provided that “[n]othing in [the Multidistrict Litigation

statute] shall apply to any action in which . . . a State is a complainant arising under

the antitrust laws.” 28 U.S.C. § 1407(g). Recognizing that this type of procedural

rule creates no retroactivity concerns and respecting the legislative choice to limit its

authority, the JPML remanded this case to Texas. Google’s effort to undo that deci-

sion through the “drastic and extraordinary remed[y]” of a writ of mandamus is en-

tirely without merit. Collett, 377 U.S. at 72.

    Google acknowledges (at 14) that the JPML applied the correct two-part test

from Landgraf v. USI Film Products, 511 U.S. 244, 280 (1994). That test requires

courts to examine first “whether Congress has expressly prescribed the statute’s

proper reach,” then “whether the new statute would have retroactive effect” such

as “impair[ing] rights a party possessed when he acted, increase[ing] a party’s liabil-

ity for past conduct, or impos[ing] new duties with respect to transactions already

completed.” Id. at 280. Here, that analysis was easy: the Supreme Court has already



    2
      Letter from Sen. Amy Klobuchar, et al., to Judge Roslynn R. Mauskopf (July
28, 2021), https://tinyurl.com/rajzhdvd.
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held that because a venue statute is “a remedial provision,” changes to such a statute
are “applicable to pending actions.” Collett, 337 U.S. at 71; see also, e.g., Landgraf,

511 U.S. at 275 (relying on Collett in fashioning its rule). And Google “ma[de] no

attempt” to distinguish these cases. Remand Order 3.

    Google’s belated attempt to develop contrary arguments here turn the law on its

head. A writ of mandamus is proper only when the petitioner establishes that his

“right to issuance of the writ is ‘clear and indisputable,’” and that principles of eq-

uity favor the extraordinary remedy. Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367,

380-81 (2004). On Google’s telling (at 10), it is indisputable that because Congress

removed a provision that would have made the act “take effect on June 1, 2021,”
that Congress expressly prescribed the statute not reach cases still pending on Janu-

ary 1, 2023. This is a non-sequitur. Moreover, legislative history Google cites cannot

bear the weight placed on it—particularly given that Congress is presumed to have
been aware of Collett and National City Lines when it passed the Venue Act. See, e.g.,

Bragdon v. Abbott, 524 U.S. 624, 648 (1998).

    Even if Google could establish a clear right to relief on the merits, it cannot es-
tablish that equity favors its requested relief, which must be “appropriate under the

circumstances.” Cheney, 542 U.S. at 380-81. Mandamus relief is inappropriate for

many reasons—even apart from the fact that appellate courts do “not use mandamus

to hold the district court responsible for failing to address arguments that were not

before it.” In re Cooper Tire & Rubber Co., 568 F.3d 1180, 1196 (10th Cir. 2009). Per-

haps most significant is that in passing the Venue Act, Congress knew it was sacri-
ficing potential efficiencies. Congress did it anyway because of the significant societal

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costs that inhere in allowing state antitrust-enforcement action to be tied to—and
potentially bogged down by—private litigants whose private incentives may not align

with the public good.

                    Statement of Jurisdiction
    Pursuant to the All Writs Act, this Court may entertain a petition for writ of

mandamus “in aid of [its own] jurisdiction” or as “agreeable to the usages and prin-

ciples of law.” 28 U.S.C. § 1651(a). Google does not maintain that it seeks a manda-

mus petition in aid of this Court’s jurisdiction in an underlying appeal.

                             Issue Presented
    Whether Google has demonstrated a clear and indisputable right to mandamus

relief where the JPML remanded this case to the Eastern District of Texas based on

an amendment to 28 U.S.C. § 1407(g) providing that antitrust actions brought by
States are not subject to MDL proceedings.

                        Statement of the Case
    In December 2020, Plaintiff States filed suit against Google in the Eastern Dis-

trict of Texas, alleging that Google violated federal and state antitrust laws by engag-

ing in anticompetitive conduct across various online advertising technology markets.

Many private lawsuits against Google followed on the heels of the Plaintiff States’

suit. Facing nearly two dozen efforts to hold it accountable for its misconduct,

Google successfully sought to consolidate “19 actions” brought by States or private

individuals, which were then “pending in 16 districts” across the country. In re Dig-

ital Advert. Antitrust Litig., 555 F. Supp. 3d 1372, 1374 (J.P.M.L 2021) (“Transfer



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Order”). Regardless of how this Court rules on the petition, this consolidated action
will not include all claims based on Google’s anti-competitive behavior: since 1968,

Congress has exempted from the multi-district litigation statue “any action in which

the United States is a complainant arising under the antitrust laws.” Act of April 29,

1968, Pub. L. No. 90-296, § 1, 82 Stat. 109, 110 (codified as amended at 28 U.S.C.

§ 1407). Pursuant to that exemption, the United States is separately litigating its own

claims under the Sherman Act in the Eastern District of Virginia. Complaint, United

States v. Google, No. 1:23-cv-00108 (E.D. Va. Jan. 24, 2023).

    Before this case left Texas, the States informed the JPML that Congress was in

the process of extending the United States’ antitrust exemption to States. State An-
titrust Enforcement Venue Act of 2021, H.R. 3460 and S. 1787, 117th Cong. (2021)

(the “Venue Act”). As supporters explained, when transferred, these actions, which

are “brought in the public interest,” are “typically postponed and may be joined
with numerous other lawsuits brought by private plaintiffs.”3 The result is often de-

lay in States’ ability to “protect consumers, workers, and competition” as States

“need to coordinate—and possibly consolidate—with slower-moving private ac-

tions.” Klobuchar, supra n.1, at 1.4 The JPML acknowledged this legislative effort,

and agreed that the “proposed legislation, if enacted would effectuate” the States’


    3
      Letter from Attorney General Phil Weiser, et al., to Sen. Amy Klobuchar (June
18, 2021), https://tinyurl.com/2p8a5c38; see also Klobuchar, supra n.1.
    4
       For the avoidance of doubt, the States do not think the Court needs to look at
these legislative materials to resolve the straightforward issue of statutory construc-
tion. Infra Part I.A.1. They are included here to give context to those cherry-picked
aspects of the statute’s history on which Google repeatedly relies.

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“desired outcome”—that is for the case to remain in the Eastern District of Texas.
Transfer Order, 555 F. Supp. 3d at 1379. But, the JPML concluded, it “must apply

the law currently in effect, without speculating about what future legislation might

be passed.” Id. at 1379. On this basis, the case was transferred.

    In the nearly two years since transfer, this case has proven the fears of Congress

right: the States’ action has been encumbered by “slower-moving private actions”

to the detriment of the States’ citizens. Klobuchar, supra n.1, at 1. It was over a year

from the time the case arrived in the Southern District of New York before the court

denied Google’s request to dismiss the States’ tying, monopolization, and attempted

monopolization counts. See In re Google Digit. Advert. Antitrust Litig., 627 F. Supp.
3d 346 (S.D.N.Y. 2022). And when the States’ sought transfer of this case back to

the Eastern District of Texas nearly six months later, discovery remained in its in-

fancy. See Jt. Letter, In re Digit. Advert. Antitrust Litig., No. 1:21-md-03010-PKC
(S.D.N.Y. 2021), ECF No. 468 (Feb. 21, 2023).

    Congress has now passed a revised version of the Venue Act as part of the Con-

solidated Appropriations Act of 2023. Consolidated Appropriations Act, 2023, Pub.
L. No. 117-328, Div. GG, Title III, § 301, 136 Stat. 4459, 5970 (Dec. 29, 2022). That

law amended 28 U.S.C. § 1407(g)—which provides for transfer to MDL proceed-

ings—to state: “Nothing in this section shall apply to any action in which the United

States or a State is a complainant arising under the antitrust laws.” 28 U.S.C.

§ 1407(g) (emphasis added). Section 1407(g) thus exempts antitrust actions filed by

states from MDL proceedings in the same way that it has exempted such actions filed
by the federal government since 1968.

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    Relying on this provision, the States sought to transfer this case back to the East-
ern District of Texas. Remand Order, In Re: Google Digit. Advert. Antitrust Litig.,

MDL No. 3010, ECF No. 250. As it did when it made its original transfer decision,

the JPML looked to then-existing law. Id. This time, recognizing that Congress had

changed the procedural rules applicable to multi-district litigation, the JPML held

“that the recent amendment to Section 1407(g) applies to pending state antitrust

enforcement actions and, absent a state’s waiver of its venue rights, the Panel must

grant the motion for remand.” Id. at 2.

    In reaching its decision that this case should return to Texas now rather than at

the conclusion of pre-trial proceedings, the JPML stated that “Landgraf provides the
well-settled framework for determining the reach of a newly enacted statute.” Id.

The JPML identified Landgraf’s two-part test for determining whether a law could

be retroactively applied: “(1) does the statute contain an express command as to its
retroactive application; and (2) if the answer is no, would application of the new

statue to the action have a genuinely retroactive effect.” Id. (internal quotation

marks omitted). And it noted that though “there is a long-established ‘presumption
against retroactive legislation,’” the Supreme Court has “emphasized . . . that

‘[c]hanges in procedural rules may often be applied in suits arising before their en-

actment without raising concerns about retroactivity.’” Id. (quoting Landgraf, 511

U.S. at 265).

    Applying Landgraf, the JPML first held that “the express language of the Sec-

tion 1407(g) amendment does not provide an answer to its temporal reach.” Id.
Then, moving to the second step of the Landgraf analysis, the JPML concluded that

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“[t]he Section 1407(g) amendment is a plainly procedural rule” because “Section
1407 is in the nature of a venue provision for pretrial proceedings,” “Congress la-

beled the Section 1407(g) amendment . . . a ‘venue’ provision,” and “[t]he venue of

an action cannot be characterized as impairing rights that a party had when it acted,

increasing a party’s liability for past conduct, or imposing new duties.” Id. at 3. The

JPML reasoned that “Landgraf leaves no doubt on this matter,” and it rejected

“Google’s reliance on legislative history to support its prospective-only interpreta-

tion of the amendment” as “unpersuasive.” Id. “Having determined that the

amendment to Section 1407(g) applies to state antitrust enforcement actions pend-

ing in MDLs” the JPML found “that remand [to the Eastern District of Texas] is
required.” Id. As a result, the JPML did not reach alternative grounds the States

asserted for transfer. In re: Google Digit. Advert. Antitrust Litig., Memorandum in

Support of Remand to the Eastern District of Texas, ECF No. 229-1. Google subse-
quently sought and obtained a temporary administrative stay from the JPML and

brought its petition for a writ of mandamus in this Court.

                          Standard of Review
    “As extraordinary remedies,” writs of mandamus or prohibition against a judge

“are reserved for really extraordinary causes.” Collett, 337 U.S. at 72 (quoting Ex

parte Fahey, 332 U.S. 258, 259 (1947)). As petitioner, it is Google’s burden to show

that its “right to issuance of the writ is ‘clear and indisputable,’” and that it “ha[s]

no other adequate means to attain the relief [it] desires.” Cheney, 542 U.S. at 380-

81. Moreover, because mandamus “is one of the most potent weapons in the judicial

arsenal,” the Supreme Court has explained, “even if [those] two prerequisites have

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been met, the issuing court, in the exercise of its discretion, must be satisfied that
the writ is appropriate under the circumstances.” Id.; In re The City of New York, 607

F.3d 923, 932-33 (2d Cir. 2010) (quoting Cheney, 542 U.S. 380-81, as establishing a

three-part test).

                     Summary of the Argument
    Google is not entitled to the extraordinary relief it seeks because it has demon-

strated neither that its entitlement to relief is clear and indisputable, nor that man-

damus is appropriate under these circumstances.
    I.   Google’s petition for a writ of mandamus must be denied at the outset be-

cause the JPML correctly identified existing Supreme Court precedent that changes

to venue may be applied to pending cases. See National City Lines, 337 U.S. at 78;
Collett, 337 U.S. at 71. But even if it were writing on a blank slate, the JPML correctly

applied both of Landgraf’s two steps to conclude that, as a procedural rule, the

Venue Act “takes away no substantive right but simply changes the tribunal that is
to hear the case.” Hamdan v. Rumsfeld, 548 U.S. 557, 577 (2006).

    First, the text of the Venue Act requires that it apply in pending cases, particu-

larly when read in the light of ordinary canons of statutory construction. Section
1407(g) states that “[n]othing in this section shall apply to any action in which the

United States or a State is a complainant arising under the antitrust laws.” 28 U.S.C.

§ 1407(g) (emphasis added). That plain text controls here because the States are

complaining parties in a case arising under the antitrust laws, and thus the amended

statute “shall apply” to them. Id. That conclusion is reinforced by ordinary canons

of construction. For example, the pending-action canon, which explains that statutes

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governing in-court behavior are presumed to apply to any case that is then in court
when they take effect. See Antonin Scalia & Bryan A. Garner, Reading Law: Interpre-

tation of Legal Texts 266 (2012). But even “[if] the statute is ambiguous or con-

tain[ed] no express command,” Google would not have a clear entitlement to relief;

“the court proceeds to the second stage of the Landgraf test.” Enter. Mortg. Ac-

ceptance Co., LLC, Sec. Litig. v. Enter. Mortg. Acceptance Co., 391 F.3d 401, 406 (2d

Cir. 2004).

    Second, the JPML correctly concluded that, because the Venue Act is a proce-

dural provision, applying it to pending litigation does not “impair rights [Google]

possessed when [it] acted, increase [its] liability for past conduct, or impose new du-
ties with respect to transactions already completed.” Landgraff, 511 U.S. at 280. Put

another way: the Venue Act may make it more expensive for Google to defend its

anticompetitive conduct, but it does not impose new legal consequences on that con-
duct. Cf. Coinbase, Inc. v. Bielski, 143 S. Ct. 1915, 1922-23 (2023). It therefore pre-

sents no retroactivity problem.

    II. Even if Google had met its burden to show a clear entitlement to relief on
the merits, it cannot show “that the writ is appropriate under the circumstances.”

Cheney, 542 U.S. at 381. Although rarely exercised, the JPML always had the discre-

tion to send the case back to Texas. 28 U.S.C. § 1407(a). And it had the obligation to

do so before trial. Id. As a result, what Google really seeks is an instruction that re-

mand was an abuse of discretion based on its assessment of how the Venue Act im-

pacted the JPML’s own organic statute. Superintending the district court’s discre-
tionary transfer decisions is never a proper use of mandamus. 16 Charles Alan Wright

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& Arthur R. Miller, Federal Practice and Procedure § 3935.4 (3d. ed.). But it is par-
ticularly inappropriate where the unique posture of this case means the Court’s de-

cision will provide no meaningful forward-looking guidance to the JPML—only a

ticket for Google to avoid Congress’s decision that state antitrust actions should pro-

ceed outside the multi-district framework.

                                  Argument

I. Google Has Not Shown a Clear Entitlement to Mandamus Relief.
    To start, Google is not entitled to the “drastic and extraordinary remed[y]” of

a writ of mandamus, Collett, 377 U.S. at 72, because it has not shown that the JPML

committed any “clear and indisputable” error in applying Landgraf, Cheney, 542

U.S. at 381. Although the law applies a presumption against retroactivity, courts en-

gage in a two-part analysis to determine whether a law applies retroactively. Martinez
v. I.N.S., 523 F.3d 365, 370 (2d Cir. 2008). First, courts look for any “express com-

mand” from Congress that addresses the amendment’s temporal scope. Landgraf,

511 U.S. at 280. If one exists, “the inquiry is at an end.” Centurion v. Holder, 755

F.3d 115, 121 (2d Cir. 2014). Second, where no clear, express command exists, courts

inquire whether application would “impair rights a party possessed when he acted,

increase a party’s liability for past conduct, or impose new duties with respect to
transactions already completed.” Landgraf, 511 U.S. at 280; see also Martinez, 523

F.3d at 372. Although Google seems at times to try to muddy the waters by conflating

different aspects of the inquiry, it has not shown that the JPML misapplied this




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standard—let alone that any error was “clear and indisputable.” Cheney, 542 U.S. at
381.

       A. The JPML correctly concluded that Congress did not displace or-
          dinary presumptions that the Venue Act applies to pending cases.
           1.    The text of the Venue Act applies to pending cases.
       To the extent that the JPML made an error, it favored Google: the panel should

have stopped at Landgraf step one because the plain text of the Venue Act applies to

the States’ action—particularly when read in the light of ordinary canons of con-

struction. The “critical inquiry at step one of Landgraf is ‘whether Congress has ex-

pressly prescribed the statute’s proper reach.’” Martinez, 523 F.3d at 372 (quoting

Landgraf, 511 U.S. at 280). This analysis “begins with an examination of the text”

and applies ordinary interpretive tools. Id. at 370, 372. Only after applying those

tools, “[if] the statute is ambiguous,” will the Court “proceed[] to the second stage
of the Landgraf test.” Enter. Mortg. Acceptance Co., 391 F.3d at 406.

       Statutory construction “begins with the statutory text.” BedRoc Ltd., LLC v.

United States, 541 U.S. 176, 183 (2004). Where, as here, “the text is unambiguous,”
it “ends there as well.” Id.; see also Jingrong v. Chinese Anti-Cult World All. Inc., 16

F.4th 47, 57 (2d Cir. 2021). In determining whether the text is ambiguous, the Court

will look at syntactic and contextual clues—not just individual terms and phrases on
the paper. Scalia & Garner, supra, p.33. For example, Congress is presumed to un-

derstand and apply the rules of English grammar. Am. Int’l Grp., Inc. v. Bank of Am.

Corp., 712 F.3d 775, 781-83 (2d Cir. 2013). It is also “presumed to be aware” of how




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the courts construe particular words and phrases. Lamar Archer & Cofrin, LLP v.
Appling, 138 S. Ct. 1752, 1762 (2018).

    Under the plain text of the Venue Act, it applies to the States’ request for re-

mand. See Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, Div. GG,

Title III, § 301, 136 Stat. 4459, 5970 (Dec. 29, 2022). The full text of section 1407(g)

now reads:

    Nothing in this section shall apply to any action in which the United States
    or a State is a complainant arising under the antitrust laws. “Antitrust
    laws” as used herein include those acts referred to in the Act of October 15,
    1914, as amended (38 Stat. 730; 15 U.S.C. 12), and also include the Act of
    June 19, 1936 (49 Stat. 1526; 15 U.S.C. 13, 13a, and 13b) and the Act of Sep-
    tember 26, 1914, as added March 21, 1938 (52 Stat. 116, 117; 15 U.S.C. 56).

28 U.S.C. 1407(g) (emphasizing the addition from the Venue Act). Thus, following

the Venue Act, the statute creating and empowering the JPML states that “[n]othing

in this section shall apply to any action in which . . . a State is a complainant arising

under the antitrust laws.” Id. (emphasis added). The use of “is” in the Venue Act

applies to “any action” in which a State is presently an antitrust complainant—in-
cluding this one. See 1 U.S.C. § 1 (explaining how to interpret use of the present

tense). Section 1407(g) therefore prevents the MDL statute from applying to the

States because they are currently complainants.5


    5
      Indeed, as the States explained to the JPML, because section 1407 is the provi-
sion that empowers the JPML, the fact that section 1407(g) speaks in the present
tense also deprives the JPML of jurisdiction. Resp. in Opposition, ECF No. 71-1 at
7-8. The district court never reached the issue, but changes to jurisdictional rules,
like changes to venue provisions, apply to pending cases. E.g., Hughes Aircraft Co. v.
U.S. ex rel. Schumer, 520 U.S. 939, 951 (1997).

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    This conclusion is buttressed by at least two related canons of statutory con-
struction. First, Congress legislates against the backdrop of common law. Merck &

Co. v. Reynolds, 559 U.S. 633, 648 (2010). And, under the so-called pending-action

canon, the general common-law rule has long been that statutory changes are pre-

sumed to apply in pending litigation—even after the judgment but before final reso-

lution of an appeal. Scalia & Garner, supra p. 266 (citing inter alia United States v.

Schooner Peggy, 5 U.S. (1 Cranch.) 103, 110 (1801) (Marshall, C.J.)).

    Second, although a retroactive effect is an exception to the pending-action canon,

under the prior-construction canon, Congress is “presumed to have known” of—

and expressed “tacit congressional approval of”—settled judicial interpretations of
existing statutes. Edelman v. Lynchburg Coll., 535 U.S. 106, 117-18 (2002); see also,

e.g., North Star Steel Co. v. Thomas, 515 U.S. 29, 34 (1995). And the Supreme Court

has repeatedly held that venue provisions do not create a retroactive effect. For ex-
ample, in National City Lines, the Supreme Court addressed the retroactivity of a

statute that permitted the transfer of “any civil action,” holding that it permitted

retroactive transfer of antitrust cases. 337 U.S. at 80-82; see also United States v. Nat’l
City Lines, Inc., 80 F. Supp. 734, 738-39 (S.D. Cal. 1948). In Ex parte Collett, the

Court reached the same conclusion, permitting forum non conveniens transfers in

Federal Employees’ Liability Act cases—even though the statute was passed after

the plaintiff had filed his suit and the statute was silent as to retroactivity. 337 U.S.

at 71. The Court rejected the defendant’s arguments against the plaintiff’s venue

transfer, noting that “[n]o one has a vested right in any given mode of procedure”



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and holding that the statute was “a remedial provision applicable to pending ac-
tions.” Id.

    Taken together, these canons of construction create a presumption that Con-

gress intends a venue provision to apply to all pending cases unless it says otherwise.

Or, to quote Google’s own authority (cited at 4, 16, 22), if a new law is “merely pro-

cedural in the strict sense (say, setting deadlines for filing and disposition),” unless

Congress says otherwise, “the natural expectation would be that it would apply to

pending cases.” Lindh v. Murphy, 521 U.S. 320, 327 (1997). And Google acknowl-

edges (Motion to Expedite at 3), Congress did not say otherwise. To the contrary, it

spoke in the present tense about “any case” involving a state antitrust enforcement
proceeding. Because courts “must presume that a legislature says in a statute what

it means and means in a statute what it says there,” Connecticut Nat’l Bank v. Ger-

main, 503 U.S. 249, 253-254 (1992), this Court should conclude that section 1407(g)
applies to any state antitrust enforcement action to which a State is presently a party.

         2. Google’s attempt to rewrite the Venue Act through cherry-picked
            legislative history is unavailing.
    As before the JPML, Google attempts (at 16-23) to avoid this straightforward

conclusion by pointing to legislative history and criticizing the JPML (at 16) for “only

looking at the enacted text of the Venue Act.” Specifically, Google asserts that be-

cause Congress considered but removed additional language that would have ex-

pressly made the Venue Act apply to pending cases, it must have expressly deter-
mined that the Venue Act should not apply to pending cases. That criticism is in the

nature of a confession given that the entire point of Landgraf step one is to ask


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whether the text of the Venue Act “expressly prescribed” its reach. Martinez, 523
F.3d at 372 (quoting Landgraf, 511 U.S. at 280). But even apart from that, the JPML

correctly rejected this argument as “unpersuasive”—again for at least three related

reasons.

    First, Google conflates legislative and statutory history. Statutory history in-

volves changes to formally adopted legislation—that is the formally adopted “stat-

utes repealed or amended by the statute under consideration.” Scalia and Garner,

supra p. 256. Because even repealed statutes at one point represented the will of the

people’s representatives, statutory history can be useful because it “form[s] part of

the context of the statute.” Id. By contrast “inferences of legislative intent from un-
enacted legislation” of the type Google seeks are deemed “unreliable.” Vill. of Bar-

rington v. Surface Transp. Bd., 636 F.3d 650, 666 (D.C. Cir. 2011); see also, e.g., Red

Lion Broad. Co. v. FCC, 395 U.S. 367, 381-82 n.11 (1969) (“[U]nsuccessful attempts
at legislation are not the best of guides to legislative intent.”); accord Ysleta del sur

Pueblo v. Texas, 142 S. Ct. 1929, 1951-52 (2022) (Roberts, C.J., dissenting) (criticizing

the majority for not giving greater weight to a statute’s drafting history).
    Second, for decades, it has been a bedrock principle of our law that where there

is a “straightforward statutory command, there is no reason to resort to legislative

history.” See also, e.g., United States v. Gonzales, 520 U.S. 1, 6 (1997); Toibb v. Radloff,

501 U.S. 157, 162 (1991). The Supreme Court has repeatedly stated that “[e]ven

those of us who sometimes consult legislative history will never allow it to be used to

muddy the meaning of clear statutory language” and disapproved the use of legisla-
tive history. Food Mktg. Inst. v. Argus Leader Media, 139 S. Ct. 2356, 2364 (2019)

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(internal quotation marks omitted); Milner v. Dep’t of Navy, 562 U.S. 562, 572 (2011)
(same).

    Determining whether a new law would apply retroactively is no different. To the

contrary, the Supreme Court has “note[d] . . . reliance on . . . legislative history over-
states the inferences that can be drawn from an ambiguous act of legislative draft-

ing.” Martin v. Hadix, 527 U.S. 343, 357 (1999). “[T]here is no need to refer to the

legislative history where statutory language is clear.” Collett, 337 U.S. at 61. And

“‘[t]he plain words and meaning of a statute cannot be overcome by a legislative

history which through strained processes of deduction from events of wholly ambig-

uous significance, may furnish dubious bases for inference in every direction.’” Id.
(quoting Gemsco, Inc. v. Walling, 324 U.S. 244, 260 (1945)).

    Google’s cases are not to the contrary. For example, Google repeatedly cites (at

19, 20, 21, 22) Rivers v. Roadway Express, Inc., 511 U.S. 298 (1994). But the statute at
issue there “ha[d] the effect not only of increasing liability but also of establishing a

new standard of conduct.” Id. at 304. “Accordingly, for reasons [the Court] stated

in Landgraf, the important new legal obligations” the statute “impose[d] br[ought]
it within the class of laws that are presumptively prospective.” Id. Because the Court

could not find “any clear expression of congressional intent to reach cases that arose

before [the provision’s] enactment,” it could not be applied retroactively—precisely

because it was a substantive rather than a procedural statute. Id. at 307.

    Equally off-base is Google’s assertion (at 19) that Hamdan v. Rumsfeld, 548 U.S.

557 (2006) shows that Congress’s deletion of a retroactivity provision from the
Venue Act means that it must have intended the Act would not apply to pending

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cases. In Hamdan, the relevant statute contained express retroactivity provisions in
some sections but not others. Hamdan, 548 U.S. at 578-80. Expressly distinguishing

the “natural expectation” that procedural statutes “apply to pending cases” dis-

cussed in Lindh, 521 U.S. at 327, it was this differential treatment that allowed a

“negative inference [to] be drawn,” Hamdan, 548 U.S. at 578. That is, rather than

standing for the general proposition that deleted language informs adopted language,

Hamdan merely reiterates the principle that “where Congress includes particular

language in one section of a statute but omits it in another section of the same Act, it

is generally presumed that Congress acts intentionally and purposely in the disparate

inclusion or exclusion.” Id. (cleaned up) (quoting Russello v. United States, 464 U.S.
16, 23 (1983)). And Hamdan expressly reaffirmed that where a law “‘simply changes

the tribunal that is to hear the case’” “no retroactivity problem arises.” Id. at 577

(quoting Hallowell v. Commons, 239 U.S. 506, 508 (1916)).
    Third, the history of the Venue Act itself shows why the type of analysis that

Google seeks is fraught with peril. As Google acknowledges (at 10), the original pro-

posed language was not that the Venue Act apply to all cases pending at the time the
bill went into effect: it stated that “‘[t]his Act and the amendments made by this

Act, shall take effect on June 1, 2021,’ a date that was a year prior to the bill’s intro-

duction,” Pet. 10 (quoting S. 1787, 117th Cong. (as introduced, May 24, 2022) (em-

phasis in Google’s Brief))—and eighteen months before it became effective. Even

for new procedural rules, “the time of final judgment is the dividing line between

prospective and retroactive effect.” Scalia & Garner, supra, p. 266. Congress could
have meant to exclude cases still pending in 2023, or it could have just wanted to

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avoid calling into question any cases that reached judgment in the intervening time.
That Congress also considered making the Venue Act explicit about applying to

pending cases tells us little, 168 Cong. Rec. S7328, S7752 (daily ed. Dec. 19, 2022),

because as Google admits (at 11), it did so only “[a]fter passing both the House and

Senate,” when the Venue Act went from being a stand-alone bill to being part of the

Consolidated Appropriations Act. Rejection at that stage may say more about parlia-

mentary procedure than what anyone in Congress intended the Venue Act to do. Or,

as the JPML put it, “such omissions may reflect a political compromise and does not

tell us precisely where the compromise was struck.” Remand Order 3 (quotation

marks omitted).
                                        ***

    In sum, Google concedes (Motion to Expedite at 3) that the Venue Act “provi-

sion contains no language” addressing retroactivity. Given background principles of
federal law, that omission combined with the use of the present tense in describing

the effect of the Venue Act should be interpreted as applying that provision to pend-

ing litigation under Landgraf step one. 511 U.S. at 280. But, at most, it means that
Congress was silent on the question, and the JPML did not clearly err by proceeding

to Landgraf step two. Indeed, that is what this Court’s precedent requires in such a

circumstance. Enter. Mortg. Acceptance Co., 391 F.3d at 406.

    B. Under Landgraf step two, the JPML correctly concluded that the
       Venue Act is a procedural rule that applies to pending cases.
    Step two of the Landgraf inquiry requires courts to address “whether the new

statute would have retroactive effect.” 511 U.S. at 280. That is, courts assess


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whether a statute “would impair rights a party possessed when he acted, increase a
party’s liability for past conduct, or impose new duties with respect to transactions

already completed.” Id. at 280. The JPML dutifully applied this precedent when it

concluded that “[t]he Section 1407(g) amendment is plainly procedural.” Remand

Order 3. And its conclusion was entirely correct for many of the same reasons that

would have allowed the panel to resolve this case under Landgraf step one.

    1. As discussed above, congressional silence in a procedural statute speaks vol-

umes as “the natural expectation would be that [such statutes] would apply to pend-

ing cases.” Lindh, 521 U.S. at 327 (citing Landgraf, 511 U.S. at 275). That is because

whether a statute has an improper retroactive effect turns on whether the “new pro-
vision attaches new legal consequences” to primary conduct “completed before its

enactment,” and thus engendering reasonable reliance interests. Landgraf, 511 U.S.

at 269-270. “Changes in procedural rules may often be applied in suits arising before
their enactment without raising concerns about retroactivity,” id. at 275, precisely

because parties have “diminished reliance interests in matters of procedure” and

“rules of procedure regulate secondary [conduct]” as opposed to “primary con-
duct.” Id. at 275, 280; see also Hamdan, 548 U.S. at 577; Zall v. Standard Ins. Co., 58

F.4th 284, 292, 296 (7th Cir. 2023); Blaz v. Belfer, 368 F.3d 501, 502 (5th Cir. 2004);

Legal Assistance for Vietnamese Asylum Seekers v. Dep’t of State, Bureau of Consular

Affairs, 104 F.3d 1349, 1352 (D.C. Cir. 1997).

    True, some procedural rules do affect primary conduct. For example, the attor-

ney-client privilege governs secondary conduct—namely, what can be admitted into
evidence—but its existence is justified by its effect on primary conduct—namely,

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encouraging people to talk to their lawyers before they need to go to court. E.g.,
United States v. Krug, 868 F.3d 82, 86 (2d Cir. 2017). Similarly, the exclusionary rule

incentivizes proper primary conduct by governmental actors by preventing the gov-

ernment from entering evidence obtained in violation of an individual’s civil rights.

Cf. Chavez v. Martinez, 538 U.S. 760, 770 (2003) (“[W]e have created prophylactic

rules designed to safeguard the core constitutional right protected by the Self–In-

crimination Clause.”). Where procedural rules have such effect on primary conduct,

the States acknowledge that changes to those rules might have retroactive effect.

    But, as discussed above (at 13-14), the Supreme Court held long before the

Venue Act that venue provisions are not the type of procedural rules that raise retro-
activity concerns due to their effect on primary conduct. See National City Lines, 337

U.S. 78; Collett, 337 U.S. 71. Lower courts have followed suit and confirmed that

because venue provisions are “remedial and purely procedural in character,” they
can be applied in pending litigation. Schoen v. Mountain Producers Corp., 170 F.2d

707, 714 (3d Cir. 1948); see also, e.g., Albemarle Corp. v. AstraZeneca UK Ltd., 628

F.3d 643, 650 (4th Cir. 2010) (“The appropriate venue of an action is a procedural
matter.”); Seay v. Kaplan, 35 F.R.D. 118, 119 (S.D. Iowa 1964); Hadlich v. Am. Mail

Line, 82 F. Supp. 562, 563 (N.D. Cal. 1949).

    Because the effect on “secondary conduct” is more or less irrelevant to the ret-

roactivity analysis, rules like venue provisions that affect only secondary conduct can

be applied in pending cases “even if application of the new rule operated to a defend-

ant’s disadvantage in the particular case.” See Landgraf, 511 U.S. at 275 n.28. This
conclusion is entirely consistent with other areas of law in which the Supreme Court

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has recognized that “litigation expense, even substantial and unrecoupable cost,
does not constitute irreparable injury.” Coinbase, 143 S. Ct. at 1923 (quoting F.T.C.

v. Standard Oil Co. of Cal., 449 U.S. 232 (1980)).

    The JPML faithfully—and correctly—applied this precedent. It properly con-

cluded that the Venue Act affects only secondary conduct: looking to Collett and Na-

tional City Lines, it noted, “[s]ection 1407 is in the nature of a venue provision for

pretrial proceedings,” and held that “[t]he venue of an action cannot be character-

ized as impairing rights that a party had when it acted, increasing a party’s liability

for past conduct, or imposing new duties.” Remand Order 3 (citing Collett, 337 U.S.

at 71 and National City Lines, Inc., 337 U.S. at 78). That is entirely in line with Su-
preme Court precedent because the Venue Act “simply changes the tribunal that is

to hear the case,” and so “no retroactivity problem arises.” Hamdan, 548 U.S. at

577 (quoting Hallowell, 239 U.S. at 508). Nor has Google ever claimed that the Venue
Act regulates primary conduct: an accused monopolist might change his conduct if

he knew the Sherman Act’s criminal penalties would be doubled. But being required

to proceed in Texas rather than New York—or even having to conduct discovery in
two fora—is not a cognizable harm. Cf. Coinbase, 143 S. Ct. at 1923. It is certainly not

the type of harm that would alter conduct that is already subject to “prison terms,

fines, recovery of damages, special fees for prosecutors, revocation of corporate

charters, voiding of contracts, injunctions, and other equitable remedies.” Spencer

Weber Waller, The Past, Present, and Future of Monopolization Remedies, 76 Antitrust

L.J. 11, 13 (2009); see also, e.g., 15 U.S.C. § 15(a) (imposing treble damages).



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    2. Google counters (at 23-28) by belatedly attempting to distinguish this myr-
iad caselaw on the grounds that even if the Venue Act is a procedural rule, it still

cannot be used to “mandate undoing or invalidating steps taken before the enact-

ment” of the Venue Act. This argument comes too late and proves too little.

    First, Google has forfeited any effort to distinguish Supreme Court precedent

holding that changes to venue provisions may be applied in pending cases. “Google

ma[de] no attempt to address Ex parte Collett and National City Lines” in its briefing

before the JPML, which that court found “highly relevant to the analysis of whether

a new venue provision . . . applies to pending cases.” Remand Order 3. As a result,

Google “left undisputed that, under governing Supreme Court precedent, changes
in venue statutes are procedural and thus presumptively apply to all pending ac-

tions.” Id. Ordinary appellants are bound by the consequences of their own forfei-

ture. E.g., T.M. ex rel. A.M. v. Cornwall Cent. Sch. Dist., 752 F.3d 145, 168 (2d Cir.
2014). That is all the more true here because appellate courts do “not use mandamus

to hold the district court responsible for failing to address arguments that were not

before it.” In re Cooper Tire & Rubber Co., 568 F.3d at 1196.
    Second, the argument depends on the premise that a court only does something

when it grants a motion. That premise is wrong. “It is true without question that

denials of preliminary injunction are appealable” actions by a district court. Ramos

v. Town of Vernon, 208 F.3d 203 (Table), 2000 WL 287698, at *1 (2d Cir. 2000); 28

U.S.C. § 1292(a)(1). And for over half a century, courts—including this one—have

held that the denial of a motion to transfer is an action that can, in a “sufficiently
‘extraordinary cause,’” give rise to a petition for a writ of mandamus. Ford Motor Co.

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v. Ryan, 182 F.2d 329, 330 (2d Cir. 1950); see also, e.g., In re TS Tech USA Corp., 551
F.3d 1315, 1319 (Fed. Cir. 2008) (citing In re Volkswagen of Am., Inc., 545 F.3d 304,

315 (5th Cir.2008) (en banc)).

    The very cases that Google seeks to distinguish demonstrate why the distinction

makes no difference. Take National City Lines, which is perhaps better labeled “Na-

tional City Lines II.” The first time the Supreme Court heard the case, it reversed

the district court’s grant of a forum non conveniens motion, “holding that forum

non conveniens was not applicable in antitrust suits.” Nat’l City Lines, 337 U.S. at

79-80 (citing United States v. National City Lines, 334 U.S. 573 (1948)). Section 1404

was subsequently amended to allow such motions, the district court “granted the
motion” and “ordered the case transferred,” and the Supreme Court affirmed. Id.

at 80. Were Google right, the Supreme Court was necessarily wrong: it had already

ruled that the case could not be transferred, and this conclusion was only disturbed
by an intervening change in law. The Supreme Court nonetheless allowed transfer

based on an amendment to section 1404—and thus “undid” the relevant district

court’s decision to keep the cases. The same is true of Ex Parte Collett, where the
Court affirmed transfer even though the case had been filed in October of 1947 and

the provision allowing transfer did not become effective until September of 1948. In

doing so, the Court expressly rejected the argument that “this action may not be

transferred because it was instituted prior to the effective date of” the amendment,

reasoning “‘[n]o one has a vested right in any given mode of procedure.’” Id. at 71

(quoting Crane v. Hahlo, 258 U.S. 142, 147 (1922)). Just so here.



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II. Google Cannot Show That Mandamus Is Appropriate Under the
    Circumstances.
    Because Google has no “clear and indisputable” right to relief on the merits, the

Court need go no further. Cheney, 542 U.S. at 381, 391 (describing this as a “precon-

dition” for mandamus relief). But Google also cannot show that “one of ‘the most

potent weapons in the judicial arsenal,’” mandamus, would be “appropriate under

the circumstances.” Id. at 380-81 (quoting Will v. United States, 389 U.S. 90, 107

(1967)). Such a writ is not a “punitive remedy,” nor can it be used for purely “cor-

rective and didactic function[s].” Will, 389 U.S. at 107. Courts can (and “routinely”
do) hold “sometimes in published opinions, that a district court erred,” yet “stop[]

short of issuing a writ of mandamus.” In re Depuy Orthopaedics, Inc., 870 F.3d 345,

347 n.4 (5th Cir. 2017) (collecting case). In extraordinary circumstances, the writ is
appropriate to avoid vitiating important rights held by the parties, e.g., In re Paxton,

60 F.4th 252, 259-60 (5th Cir. 2023) (ordering mandamus relief to protect sovereign

immunity); Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 105 (2009) (contemplat-
ing mandamus relief to protect important privileges); “embarrass[ing]” another

“arm of the government,” Ex parte Peru, 318 U.S. 578, 588 (1943) (discussing judi-

cial seizure of the property of friendly sovereigns); or “intrusion by the federal judi-

ciary on a delicate area of federal-state relations,” Will, 389 U.S. at 95 (citing Mary-

land v. Soper, 270 U.S. 9 (1926)). A writ of mandamus here would not serve any of

those purposes—or even Google’s putative aim (at 30) to provide guidance to lower

courts in interpreting section 1407(g).




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    First, this is not an instance where mandamus relief is necessary to vindicate an
important individual right and thereby avoid a “manifest injustice.” See Mohawk,

558 U.S. at 111. As discussed above (at 19-21), section 1407(g) can be applied to pend-

ing cases precisely because Google has no legally protected right to continue litigat-

ing this case in New York rather than Texas.

    Second, this is not the rare circumstance where a transfer decision—even an er-

roneous one—“amount[s] to a judicial usurpation of power.” Volkswagen, 545 F.3d

at 309. That is, the Supreme Court has warned that when analyzing whether to issue

a writ of mandamus, courts of appeals must take “care[] lest they suffer themselves

to be misled by labels such as ‘abuse of discretion’ and ‘want of power’ into inter-
locutory review of nonappealable orders on the mere ground that they may be erro-

neous.” Will, 389 U.S. at 98 n.6. Examining that admonition in a transfer context,

the Fifth Circuit has stated courts of appeals are “not to issue a writ to correct a mere
abuse of discretion, even though such might be reversible on a normal appeal.”

Volkswagen, 545 F.3d at 310. In addition to being widely cited by other courts, e.g., In

re Google LLC, No. 2021-171, 2021 WL 4592280, at *2 (Fed. Cir. Oct. 6, 2021) (per
curiam), Volkswagen is indicative of what is now “common agreement” among ap-

pellate courts: “mandamus should be available to set aside a transfer” order only “if

the district court lacks power to transfer or has acted on wrong legal principles,”

Wright & Miller, supra § 3935.4 (footnote omitted).

    Google does not even try to show that the JPML lacked power to transfer the case

back to Texas for good reason. In the MDL context, every case “transferred shall be
remanded by the panel at or before the conclusion of such pretrial proceedings to the

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district court from which it was transferred unless it shall have been previously ter-
minated.” 28 U.S.C. § 1407(a). In other words, Google always knew it was heading

back to Texas. Although the JPML was unlikely to remand this case before the close

of discovery, it always had the power to do so at any point and the obligation to do so

before trial. The supposed loss of efficiency associated with doing so now rather than

after discovery is not a legally cognizable injury—let alone one that justifies the ex-

traordinary remedy of mandamus. See Coinbase, 143 S. Ct. at 1922-23.

    Third, granting Google relief is more likely to create than prevent “intrusion by

the federal judiciary on a delicate area of federal-state relations.” Will, 389 U.S. at

95. After all, according to the Venue Act’s sponsors, the entire point of the legisla-
tion was to address a “crisis” of monopolization in “[m]any industries” that is

threatening “consumers, workers, and competition”—a “crisis” that “Congress

and the federal government rely on state attorneys general to address . . . by aiding
in the enforcement of our federal antitrust laws.” Klobuchar, supra at n.1. Respond-

ent States stand ready, willing, and able to provide that assistance through “vigorous

antitrust enforcement.” Id. But years-long delays like those already seen in this case
are standing in the way. Even if the JPML was wrong that Congress’s stated aim of

preventing such delays applies to this case of its own force (and it was not), those

same concerns inform why equity counsels against the “drastic and extraordinary

remed[y]” of a writ of mandamus. Collett, 337 U.S. at 72.

    Finally, even if Google’s premise were correct (at 30-31) that a writ of manda-

mus could issue purely for error-correction or “didactic” purposes, but see Will, 389
U.S. at 109; Depuy Orthopaedics, 870 F.3d at 347 n.4, granting this petition would not

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even do that. Indeed, although the Petition implies otherwise (at 30), Google has
acknowledged that the legal issue presented here will affect at most two cases, one of

which is not in this Circuit. Google Response at 13 n.2, In re: Google Digit. Advert.

Antitrust Litig., ECF No. 238. Were this Court to grant mandamus relief, it would

therefore only affect this case and would not as Google suggests (at 31) serve a

broader function. This narrow question counsels against the extraordinary remedy

of mandamus.

                                 Conclusion
    The petition for a writ of mandamus should be denied.

                                       Respectfully submitted.

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    On July 17, 2023, this response was served via CM/ECF on all registered coun-

sel and transmitted to the Clerk of the Court.

                                       /s/ Lanora C. Pettit
                                       Lanora C. Pettit

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    This brief complies with: (1) the type-volume limitation of Federal Rule of Ap-

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